                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION


UNITED STATES OF AMERICA            )                DOCKET NO. 3:16-CR- 042-FDW
                                    )
            v.                      )                ORDER TO SEAL
                                    )
DORIO KINTA RICHARDSON              )
                                    )
                                    )
___________________________________ )

       THIS MATTER IS BEFORE THE COURT on the “Motion To Seal” (Document No.

213) filed October 7, 2016 by Defendant’s attorney, Julia G. Mimms. Defendant seeks an order

directing that the Defendant’s “Unopposed Motion To Continue Sentencing” (Document No. 212)

in this matter be sealed, based on the fact that the document contains sensitive and personal

information pertaining to the Defendant. The Court finds that sealing is appropriate.

       IT IS, THEREFORE, ORDERED that the “Motion To Seal” (Document No. 213) is

GRANTED.

       IT IS FURTHER ORDERED that the Defendant’s “Unopposed Motion To Continue

Sentencing” (Document No. 212) be sealed pending further order of the Court.

       SO ORDERED.



                                            Signed: October 7, 2016




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